Case 2:05-cr-20262-.]TF Document 5 Filed 07/25/05 Page 1 of 4 Page|D 7

F;LED BY m_ D.C.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JUL 25 pH |~. 30
Western Division
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-v- Case No. 2:05cr20262-001B
CHRISTOPHER MACLIN

ORDER SETT|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

( l) The defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Oftice, Probation Oftice, defense counsel

and the U.S, Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom 5 on Wednesda , 07/27/05, at 9:30 a.m..

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $15,000. This bond shall also be executed by CORPORATE SURETY
as surety [or other solvent surety].

0 report as directed by the Pretrial Services Office.

0 Abide by the following restrictions on personal association, place of abode, or trave]: Defendant is restricted

in residence and travel to the Western District of Tennessee and Northern Distn`ct of Mississippi for work
purposes Defendant is required to maintain or actively seek employment..

¢ Refrain from possessing a firearm, destructive device, or other dangerous weapon,
0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in

writing by a licensed medical practitioner.

This document entered on the docket sheet ln compliance
AO 199A Order Setting Condifions of Rerease '1' With RU|E 55 and/O|‘ 32(b) FHC[P 011 _ "'

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0 Submi`t to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretiial Services and pay a percentage of the fee as determined by Pretrial Services.

ADV|CE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigationl It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

Ao iseA order seizing conditions ar Release -2-

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and thatI am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed lam aware

of the penalties and sanctions set forth above.
// _,/'
n / '/@
\_w_,_

Signature of Defendant

Christopher Macklin
XXX-XX-XXXX

3895 Dante
Memphis, TN 38128
386-9408

DlRECT|ONS TO THE UNlTED STATES MARSHAL

l:ll]

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: July 2], 2005 é//Z;”/?V 5¢`

S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE IUDGE

AO 199A Order Se!tlng Conditlons of Release ~3-

ENNESSEE

 
    
 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 2:05-CR-20262 Was distributed by faX, mail, or direct printing on
.luly 25, 2005 to the parties listed.

 

 

Stepheii P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Maiii St.

Ste. 800

l\/leiriphis7 TN 38103

Hoiiorable .l. Breen
US DISTRICT COURT

